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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF FLORIDA
GAINESVILLE DIVISION
MARK MANN,

Plaintiff,
Vv. Case No.1:17-cv-00241-MW-GRJ

DR. C. CALDERON, et al.,

Defendants.

 

 

THIRD AMENDED VERIFIED COMPLAINT
: AND DEMAND FOR JURY TRIAL

PLAINTIFF MARK MANN, (hereinafter “Plaintiff,” or “MANN”), by
and through undersigned counsel, files this Third Amended Verified Complaint
and Demand for Jury Trial against DEFENDANTS, CENTURION OF
FLORIDA,. LLC, a Florida limited liability company (hereinafter
“CENTURION”), CORIZON HEALTH, INC., a foreign corporation
(hereinafter ‘CORIZON), ELVIRA ESTHER PEREZ PEREZ, M.D., Site
Medical Director (hereinafter “DR. PEREZ PEREZ”), MARIO JOSE
REMIREZ, P.A., Physician’s Assistant (hereinafter “PHYSICIAN’S

ASSISTANT REMIREZ”), and CESAR A. CALDERON-GONZALEZ, MLD.,
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(hereinafter | DR. CALDERON-GONZALEZ), each in their individual
capacities, and alleges:
INTRODUCTION

l. This is an action for compensatory and punitive damages alleging
that the Defendants, contrary to the Eighth and Fourteenth Amendments to the
United States Constitution, knowingly and willfully exercised deliberate
indifference to the recognized rights of the Plaintiff MARK MANN, while he
was incarcerated at Holmes Correctional Institution, located at 3142 Thomas
Drive, Bonifay, Florida 32425-0190, beginning on May 14, 2014.

JURISDICTION AND VENUE

2. Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§
1331 in that this is a civil action arising under the Constitutional and Laws of
the United States.

3. Jurisdiction is also invoked pursuant to 28 U.S.C. § 1343(A)(3),
in that this action seeks to redress the deprivation, under color of state law, of
rights as secured to MANN by the Eighth and Fourteenth Amendments to the
United States Constitution. MANN’s claims for relief are predicated upon 42

U.S.C. § 1983 which authorizes actions to redress the deprivation, under color

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of state law. of rights, privileges and immunities secured to MANN by the
Constitution and Laws of the United States and by 42 U.S.C. § 1988 which
authorizes the award of attorney fees and costs to prevailing plaintiffs in
actions brought pursuant to 42 U.S.C. ; 1983. MANN has fully exhausted his
administrative remedies,
PARTIES

4. ‘The Plaintiff, MARK MANN (hereinafter “MANN”), at all times
material to this action, was initially a resident of Holmes Courity, Florida,
incarceratedat Holmes Correctional Institution, 3142 Thomas Drive, Bonifay,
Florida 32425-0190, from May 2014, to July 15, 2014, and has been a resident
of Volusia County, Florida, since July 16, 2014, while incarcerated at Tomoka
Correctional Institution, 3950 Tiger Bay Road, Daytona Beach, Florida
32124-1098:

5. ‘The Defendant, CORIZON HEALTH, INC. ‘hereinafter
"CORIZON*), at all times material is a foreign corporation and mariaged health
care provider, whose principal address is 103 Powell Court, Brentwood, TN

37027.
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6. The Defendant, CENTURION OF FLORIDA, LLC, (hereinafter
“CENTURION”), at all times material is a managed health care provider,
whose principal address is 7700 Forsythe Blvd., St. Louis, MO 63105.

7. The Defendant, ELVIRA ESTHER. PEREZ PEREZ, M.D.
(hereinafter “DR. PEREZ PEREZ”),was a medical doctor employed by
CORIZON HEALTH, INC., through their contract with the Florida Department
of Corrections and the Site Medical Director at Holmes Correctional
Institution, Bonifay, Florida. DR. PEREZ PEREZ is sued in her individual
capacity. At all times material to this action DR. PEREZ PEREZ was acting
under color of state law.

8. The Defendant, MARIO JOSE REMIREZ, JR., P.A. (hereinafter
“PHYSICIAN’S ASSISTANT REMIREZ”), at all times material to this action,
was a Physician’s Assistant employed by the State of Florida Department of
Corrections :at Tomoka Correctional Institution, Daytona Beach, Florida
32124-1098: PHYSICIAN’S ASSISTANT REMIREZ is sued in his individual
capacity. At all times material to this action PHYSICIAN’S ASSISTANT

REMIREZ was acting under color of state law.
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9. The Defendant, CESAR A. CALDERON-GONZALEZ, M.D.
(hereinafter “DR. CALDERON-GONZALEZ?”), at all times material to this
action, was a Medical Doctor employed by the Department of Corrections at
Tomoka Correctional Institution, 3950 Tiger Bay Road, Daytona Beach,
Florida 32124-1098. DR. CALDERON-GONZALEZ is sued in his individual
capacity.

STATEMENT OF FACTS

10. -On May 14, 2014, while incarcerated at Holmes Correctional
Institution, MANN used the toilet and found he had filled it with blood. After
using the toilet again, and seeing the same results, he declared a medical
emergency and was taken to medical. Upon arriving at medical, MANN
informed a nurse what the problem was and he was told to “show” them by
using the toilet and letting the blood remain. MANN did and afterwards he
was told to wait to see the doctor. DR. PEREZ PEREZ came and'asked what
was going on and then examined MANN’s rectum. After the rectal
examination}; MANN was then admitted to the Infirmary.

11. Uponentering the Infirmary, MANN was placed on an IV and his

toilet was monitored for blood. MANN stayed in the Infirmary ‘for about a

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week-and-a-half and during this time, he received an X-ray and had blood
drawn a few times. DR. PEREZ PEREZ told MANN two things: 1) that she
was submitting a request for him to undergo a colonoscopy, but she didn’t
know if it would be approved or not, and 2) DR. PEREZ PEREZ told MANN
to sign up for sick call, if he started having problems again.

12. MANN never was given a colonoscopy by any doctor. Instead,
his serious, medical condition was ignored by the staff and he was placed back
in open population on May 23, 2014.

13. Onorabout July 15,2014, MANN was transferred ftom Holmes
Correctional Institution to Tomoka Correctional Institution.

14. During his time at Tomoka Correctional Institution, MANN would
continue to experience occasional blood and gastrointestinal pain, so in early
January 2015, he put in for sick call in order to determine what the problem
was. Once again, blood was taken and MANN was given an X-ray, but
nothing else was done. MANN was provided no further information as to what
the problem was that he was experiencing and simply told to sign up for sick

if he needed’to talk to the nurses.
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15. This time MANN also was examined by DR. CALDERON and
PHYSICIAN’S ASSISTANT REMIREZ. Neither of them made any effort to
treat MANN’s serious, medical condition. PHYSICIAN’S ASSISTANT
REMIREZ said it was his appendix and Gastroesophageal reflux disease
(GERD), which was causing MANN’s pain.

16. Neither PHYSICIAN’S ASSISTANT REMIREZ or CALDERON
ordered a colonoscopy for MANN, even though they were aware that he
already had a well-established history of passing blood combined with
gastrointestinal pain. When he inquired about the possibility ofa colonoscopy,
he was never given an answer.

17. From March 19, 2015, to May 22, 2016, MANN repeatedly
requested medical care for his serious, medical condition, and he was not seen
by a doctor or given any medical attention at all. This was so, in'spite of the
fact that his condition, rectal bleeding, severe gastrointestinal pain, was
continually getting worse every time it occurred.

18. | From May 14, 2014, through February 1, 2016, DEFENDANT
CORIZON was responsible for providing medical care to inniates of the
Florida Department of Corrections. DEFENDANT CENTURION replaced

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CORIZON as the health care provider for the Florida and assumed
responsibility for MANN’s healthcare around February 1, 2016, but the
medical care professionals remained the same.

19. In April 2016, MANN began to experience rapid weight loss in
addition to his rectal bleeding and gastrointestinal pain. On May 22, 2016, the
pain had become unbearable. MANN put in for a sick call once again and the
records will reflect that by this time, he was losing weight and not able to eat.
However, he did not receive any specific medical care at all for this condition.
During the next two weeks, MANN’s right lung would collapse, and he would
catch pneumonia and his weight loss ultimately reached forty (40) pounds.
MANN oncé again declared a medical emergency when his lung collapsed, but
they said it was from Gastroesophageal reflux disease, or GERD:

20. In mid June, on or about June 16, MANN began experiencing
uncontrollable shaking. On June 23, 2016, MANN was admitted into the
Infirmary for twenty-four (24) hours and released the next day, even though he
would shake uncontrollably at night. The uncontrollable shaking would

continue even after he was released from the Infirmary.
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21. On June 28, 2016, MANN showed up at medical for a routine
follow up. Even though it was 100° Fahrenheit outside, MANN was shaking
uncontrollably. The shaking was so bad that he nurse could not take his vital
information.

22. During this visit, PHYSICIAN’S ASSISTANT REMIREZ finally
took action and called the hospital. While MANN was being taken out on a
stretcher, PHYSICIAN’S ASSISTANT REMIREZ said to him, “now you can
get that appendix taken care of.” On June 28, 2016, MANN was transferred
to’ Halifax Health Medical Center located at 303 N Clyde Morris Blvd,
Daytona Beach, FL 32114.

23. Therefusal or inability of medical staff to treat MANN’s serious,
medical condition, rectal bleeding, severe gastrointestinal pain, rapid weight
loss and uncontrollable shaking, from May 2014 through June 28, 2016, based
on their intentional misdiagnosis of his serious medical condition, as, either
Appendix or GERD, in order to justify their refusal to spend the additional
funds needed to send him to an outside medical center for a colonoscopy, is

consistent with CORIZON’s long-standing policy of maximizing profits on
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their contract to provide medical care to inmates, instead of providing
necessary medical care.

24, Upon arriving at Halifax Health Medical Center, it was quickly
determined that MANN was experiencing Stage IV Colon Cancer.

25. The deliberate indifference of Defendants towards MANN’s
serious medical condition allowed his Colon Cancer to go untreated for
twenty-six (26) months.

26. MANN is afraid of dying and must live with the fact that he may
die from Cancer.

27. On July 7, 2016, MANN was released from Halifax Medical
Center and sent to Lake Butler Medical Reception Center and assigned to a
Hospital Ward with directions that he undergo chemotherapy as soon as
possible.

28. ‘MANN would remain in the Hospital Ward of this Institution for
around two months.

29. On or about September 1, 2016, MANN was released from the
Hospital Ward area of the Institution and moved to open compound. MANN

was initially assigned to Dorm F for a week. MANN was then moved to I

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Block for a weekend. At some point in time, MANN ended up in Dorm D.
During this entire time, MANN would be undergoing chemotherapy every two
(2) weeks.

30. On November 30, 2016, MANN initiated the administrative
process by filing a formal grievance which was recieved by Prison officials.

31. “On December 19, 2016, the Warden at Lake Butler Medical
Reception Center denied the grievance. The denial was not received by
MANN until January 4, 2017, or sixteen (16) days after it was denied.

32. On January 5, 2017, MANN filed his appeal of the denial, which
DOC has acknowledged receiving on January 9, 2017.

33. MANN did not receive any acknowledgment from DOC that his
appeal had been filed or received for more than thirty (3 0) days. }

34. ‘On February 9, 2017, MANN wrote a letter to "The Bureau of
Policy Management and Inmate Appeals," which was stamped received by
DOC Inmaté Grievance Appeals on February 14, 2017, or eight (8) days later.

35. On February 16, 2017, in response to MANN's February 9, 2017
letter, the DOC Bureau of Policy Management and Inmate Appeals responded

to MANN regarding the status of his appeal with an Interoffice Memorandum

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which included a series of numbered paragraphs containing various statements
of the status of appeal. The DOC checked { 2, which stated, "your
administrative appeal has been received in our office and is still under
investigation.” As soon as our investigation is complete you will receive an
answer,

36. ‘This form implied to MANN that there was no issue with the
timeliness of his appeal since there would be no need to further investigate an
appeal which could have simply denied as late.

37. “However, on June 27, 2017, DOC issued a response to MANN's
appeal which was filed with the Agency Clerk on June 28, 2017, stating that
your request for an administrative appeal has been received in non compliance
with Chapter 33. Appeals must be received in the Office of the Secretary
within fifteen (15) days of the institutional response. Based on the above
information your appeal is returned without action. This document was signed

by T. Bowden, as Warden, Asst. Warden, or Secretary’s Representative.

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CAUSES OF ACTION

COUNT I-42 U.S.C. § 1983 CLAIM
AGAINST CORIZON HEALTH, INC.

38. MANNhereby incorporates by reference the allegations contained
in paragraphs 10 through 37 above, as if set forth in full herein.

39. Count I is brought against Defendant CORIZON pursuant to 42
U.S.C. § 1983 for deliberate indifference to the critical medical needs of
MANN, as an individual with a serious, medical need.

40. -CORIZON had a duty as well as an ethical responsibility to
develop, implement and monitor compliance with appropriate policies and
procedures designed to make sure inmates are seen by the appropriate medical
specialists and receive appropriate medical treatment when recommended by
a health care‘provider. CORIZON exercised deliberate indifferent to MANN’s
Eighth Amendment right to adequate health care for his serious, medical need
~ Colon Cancer-— by specifically engaging in policies and procedures with the
intent to protect the financial interest of CORIZON or the medical needs of
inmates, such as MANN, whose medical needs have been entrusted to them by

their contractual arrangement with the Florida Department of Corrections.

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41. Their deliberate indifference is demonstrated by CORIZON’s
intentional refusal to schedule MANN for a colonoscopy after DR. PEREZ
PEREZ submitted her request in May of 2014, and continued to refuse this
request until May of 2016, the day they lost the contract with the State of
Florida. They denied this colonoscopy, in spite of, the obvious, serious,
medical need, gastrointestinal pain and bloody bowel movements.

42. CORIZON never approved DR. PEREZ PEREZ’s request that
MANN be sent to a medical facility where a colonoscopy could be performed
to determine the cause of this serious medical problem while he was
incarcerated' at Holmes Correctional Institution or after he was transferred to
Tomoka Correctional Institution. This failure to take recommended medical
action in order to save money violated MANN’s rights under the Eighth and
Fourteenth Amendments to the United States Constitution to receive medical
treatment for a serious, medical condition and during a time which MANN
could have been provided the care which could have prevented the

development of the Stage IV Cancer that he is now experiencing.

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COUNT II - 42 U.S.C. § 1983 CLAIM
AGAINST CENTURION OF FLORIDA, LLC.

43. MANN hereby incorporates by reference the allegations contained
in paragraphs 10 through 37 above, as if set forth in full herein.

44. -Count lis brought against Defendant CENTURION pursuant to
42 U.S.C. § 1983 for deliberate indifference to the critical medical needs of
MANN, as an individual with a serious, medical need.

45. CENTURION had a duty as well as an ethical responsibility to
develop, implement and monitor compliance with appropriate policies and
procedures designed to make sure inmates are seen by the appropriate medical
specialists and receive appropriate medical treatment when recommended by
a health care provider. CENTURION exercised deliberate indifferent to
MANN’s Eighth Amendment right to adequate health care for his ongoing and
serious, medical need, gastrointestinal pain and rectal bleeding by specifically
engaging in‘policies and procedures with the intent to protect the financial
interest of CENTURION, in conflict with the medical needs of inmates such
as MANN whose medical needs have been entrusted to them by their

contractual arrangement with the Florida Department of Corrections.

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46. Their deliberate indifference is demonstrated by their failure to
insure that MANN received a timely colonoscopy in between May of 2016 and
June 28, 2016, in the face of the serious medical need, gastrointestinal pain and
the bloody bowel movements.

47, During this time period did CENTURION insure that MANN was
sent to a medical facility where a colonoscopy could be performed to determine
the cause of this serious medical problem. This failure to take recommended
medical action violated MANN’s rights under the Eighth and: Fourteenth
Amendments to the United States Constitution to receive medical treatment for
a serious, medical condition and during a time which MANN could have been
provided the care which could have prevented the development of the Stage IV
Cancer that he is now experiencing.

COUNT ITI — 42 U.S.C. § 1983 CLAIM
AGAINST DR. PEREZ PEREZ

48. MANNhereby incorporates by reference the allegations contained
in paragraphs 10 through 37 above, as if set forth in full herein.
49, DR. PEREZ PEREZ was the Site Medical Director at Holmes

Correctional Institution and MANN’s primary care physician.

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50. MANN charges that DR. PEREZ PEREZ, contrary to the Eighth
and Fourteenth Amendments to the United States Constitution knowingly and
willfully exercised deliberate indifference by failing to provide necessary and
recommended medical care and treatment in a timely manner.

31. MANNcharges that DR. PEREZ PEREZ, from May 2014 through
July 25, 2014, pursuant to the policy of CORIZON to deny medical care for
economic reasons pursuant to maximizing their profit under their contract with
the State of Florida Department of Corrections to provide héalthcare to
inmates.

52. The failure to take action by DR. PEREZ PEREZ was.an exercise
of deliberate indifference to the health safety and welfare and constitutional
rights of the:plaintiff, an inmate suffering from a severe and obvious medical
condition, under color of state law.

53. DR. PEREZ PEREZ, with the full knowledge of the
unconstitutional nature of her actions, agreed and did exercise deliberate

indifference'to the safety and health of Plaintiff MANN.

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Count IV — 42 U.S.C. § 1983 CLAIM
AGAINST PHYSICIAN’S ASSISTANT REMIREZ

54. MANN hereby incorporates by reference the allegations contained
in paragraphs 10 through 37 above, as if set forth in full herein.

55. PHYSICIAN’S ASSISTANT REMIREZ was a Physician’s
Assistant Tomoka Correctional Institution.

56. MANN charges that PHYSICIAN’S ASSISTANT REMIREZ,
contrary to the Eighth and Fourteenth Amendments to the United States
Constitution: knowingly and willfully exercised deliberate indifference by
failing to provide necessary and recommended medical care and treatment in
a timely manner.

57. MANN charges that PHYSICIAN’S ASSISTANT REMIREZ,
from July 25, 2014, through June 28, 2016, pursuant to the policy of
CORIZON to deny medical care for economic reasons pursuant to maximizing
their profit under their contract with the State of Florida Department of
Corrections to provide healthcare to inmates.

58. The failure to take action by PHYSICIAN’S ASSISTANT

REMIREZ was an exercise of deliberate indifference to the health safety and

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welfare and constitutional rights of the plaintiff, an inmate suffering from a
severe and obvious medical condition, under color of state law.

59. PHYSICIAN’S ASSISTANT REMIREZ, with the full knowledge
of the unconstitutional nature of his actions, agreed and did exercise deliberate
indifference to the safety and health of Plaintiff MANN.

COUNT V — 42 U.S.C. § 1983 CLAIM
AGAINST DR. CALDERON-GONZALEZ

60. MANNhereby incorporates by reference the allegations contained
in paragraphs 10 through 37 above, as if set forth in full herein. |

61. DR.CALDERON-GONZALEZ was a Medical Doctor at Tomoka
Correctional Institution.

62. MANN charges that DR. CALDERON-GONZALEZ, contrary to
the Eighth and Fourteenth Amendments to the United States Constitution
knowingly and willfully exercised deliberate indifference by failing to provide
necessary and recommended medical care and treatment in a timely manner.

63. MANN charges that DR. CALDERON-GONZALEZ, from July
25, 2014 through June 28, 2016, pursuant to the policy of CORIZON to deny

medical care’ for economic reasons pursuant to maximizing their profit under

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their contract with the State of Florida Department of Corrections to provide

healthcare to inmates.

64. The failure to take action by DR. CALDERON-GONZALEZ was
an exercise of deliberate indifference to the health safety and welfare and
constitutional rights of the plaintiff, an inmate suffering from a severe and
obvious medical condition, under color of state law.

65. DR. CALDERON-GONZALEZ, with the full knowledge of the
unconstitutional nature of his actions, agreed and did exercise deliberate
indifference to the safety and health of Plaintiff MANN.

PRAYER FOR RELIEF

WHEREFORE, PLAINTIFF MARK MANN, respectfully prays this
Honorable Court for entry of judgment awarding him the following relief:

A. A declaration that the acts and omissions of the- defendants
described herein violated MANN’s Eighth and Fourteenth Amendments
protection from cruel and unusual punishment through the exercise of

deliberate indifference.

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B. Compensatory damages against.Defendant CENTURION inan

amount to be determined by the jury.

C. Compensatory damages against Defendant CORIZON in an

amount to be determined by the jury.

D. Compensatory damages against each named Defendant in their
individual capacities in an amount to be determined by the jury. -

E. Punitive damages against Defendant CENTURION in an amount
to be determined by the jury.

F, Punitive damages against Defendant CORIZON in an amount to
be determined by the jury.

G. Punitive damages against each named Defendant in their
individual capacities in an amount to be determined by the jury. :

H. ‘Recovery of all fees and costs of this action.

I. -Any further relief this Court deems just, proper and equitable.

Plaintiff respectfully demands a jury trial on all issues so triable

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VERIFICATION
I affirm, under the penalty of perjury, that the foregoing document is true and correct

to the best of my personal knowledge, information and belief.

Ua NYY]. Amn

MARK MANN

Resp¢¢tfully submitted,

 
   

 

GARY LE’PRINTY Jo
FL BAR ID NO. 363014
GARY LEE PRINTY ATTORNEY AT LAW
1804 Miccosukee Commons Drive, Suite 200
Tallahassee, Florida 32308-5471
Telephone: (850) 877-7299
FAX: (850) 877-2211
Email: attygaryprinty@gmail.com
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Attorney for Plaintiff,
MARK MANN

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